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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :          Chapter 11
In re:                                                         :
                                                               :          Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.                                       :
                                                               :          (Jointly Administered)
                                    Debtors.1                  :
                                                               :
                                                               :          Related Docket No. 740
---------------------------------------------------------------x

                                         NOTICE OF APPEAL

          Nicholas Drake, Christina G. Rice, Liam Devoy, Anda Druva, Steve Finney, Scott Fullerton,

Pamela Gobright, John Graham, Kelley C. Graham, Brad Holman, Kristina Kastelan, Kelley Ketner,

Jennifer Kutsch, Viki Love, Kerstin N. Mazzone, Andrew P. Mooney, Carol Nielsen, Robert

Oberschelp, Joe O’Neil, Natalie Rigolet, Chris Schreiber, Lance Stern, Steve Swokowski, Roberta

Turchi, Alan Vickers, and Thomas Webster, on their own behalf and on behalf of all similarly-

situated terminated former employees (“Former Employees”) of the above-captioned debtors,

Quiksilver, Inc. and its affiliated debtors and debtors in possession (the “Debtors”) appeal under 28

U.S.C. § 158(a) and Rules 8001(a) and 8002 of the Federal Rules of Bankruptcy Procedure from the

Findings of Fact, Conclusions of Law and Order Confirming Reorganization Plan of the Debtors

[D.I. 740], entered in this bankruptcy case on January 29, 2016.

          In accordance with Bankruptcy Rule 8001(a), the names of the parties to the orders

appealed from and the names and addresses of their respective attorneys are:




1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Quiksilver, Inc.
    (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945), Hawk Designs,



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 Parties                                                       Counsel

 Former Employees (Appellants)                                 Michael Busenkell (DE 3933)
                                                               1201 N. Orange Street, Suite 300
                                                               Wilmington, DE 19801
                                                               Telephone: 302-425-5812
                                                               Facsimile: 302-425-5814
                                                               E-mail: mbusenkell@gsbblaw.com

                                                               -and-

                                                               Blake J. Lindemann (Cal Bar No. 255747)
                                                                 (pro hac vice)
                                                               433 N. Camden Drive, 4th Floor
                                                               Beverly Hills, CA 90210
                                                               Telephone: 310-279-5269
                                                               Facsimile: 310-300-0267
                                                               E-mail: blake@lawbl.com




 Debtors (Appellees)                                           Van C. Durrer, II
                                                               Skadden Arps Slate Meagher & Flom LLP
                                                               300 South Grand Avenue
                                                               Los Angeles, CA 90071-3144
                                                               213-687-5000
                                                               Fax : 213-687-5600
                                                               Email: van.durrer@skadden.com

                                                               Laura Davis Jones
                                                               Pachulski Stang Ziehl & Jones LLP
                                                               919 N. Market Street, 17th Floor
                                                               Wilmington, DE 19801
                                                               302 652-4100
                                                               Fax : 302-652-4400
                                                               Email: ljones@pszjlaw.com




  Inc. (1121), Mt. Waimea Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver Entertainment, Inc.
  (9667), and Quiksilver Wetsuits, Inc. (9599).



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 Official Committee of Unsecured Creditors       Ashley R. Beane
 (Appellee)                                      Akin Gump Strauss Hauer & Feld LLP
                                                 1700 Pacific Avenue, Suite 4100
                                                 Dallas, TX 75201-4675
                                                 214-969-2800
                                                 Fax : 214-969-4343
                                                 Email: abeane@akingump.com

                                                 David M. Fournier
                                                 Pepper Hamilton, LLP
                                                 Hercules Plaza, Suite 5100
                                                 1313 Market Street
                                                 Wilmington, DE 19899-1709
                                                 302-777-6500
                                                 Fax : 302-421-8390
                                                 Email: flbank@pepperlaw.com

 Office of The United States Trustee             Mark S. Kenney
 (Interested Party)                              Office of the U.S. Trustee
                                                 844 King Street, Suite 2207
                                                 Lockbox 35
                                                 Wilmington, DE 19801
                                                 302-573-6491
                                                 Fax : 302-573-6497
                                                 Email: mark.kenney@usdoj.gov


Dated: February 12, 2016                 GELLERT SCALI BUSENKELL & BROWN, LLC

                                         /s/ Michael Busenkell
                                         Michael Busenkell (DE 3933)
                                         1201 N. Orange Street, Suite 300
                                         Wilmington, DE 19801
                                         Telephone: 302-425-5812
                                         Facsimile: 302-425-5814
                                         Email: mbusenkell@gsbblaw.com

                                         -and-

                                         Blake J. Lindemann – Cal. Bar #255747
                                           (pro hac vice)
                                         Lindemann Law Firm
                                         433 N. Camden Drive, 4th Floor
                                         Beverly Hills, CA 90210
                                         Telephone: 310-279-5269
                                         Facsimile: 310-300-0267
                                         E-mail: blake@lawbl.com



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                                      -and-

                                      Daren M. Schlecter – Cal. Bar #259537
                                         (pro hac vice)
                                      Law Office of Daren M. Schlecter, A Prof. Corp.
                                      1925 Century Park East, Suite 830
                                      Los Angeles, CA 90067
                                      Telephone: 310-553-5747
                                      Facsimile: 310-553-5487
                                      E-mail:    daren@schlecterlaw.com

                                      Attorneys for Nicholas Drake, Christina G. Rice, Liam
                                      Devoy, Anda Druva, Steve Finney, Scott Fullerton,
                                      Pamela Gobright, John Graham, Kelley C. Graham,
                                      Brad Holman, Kristina Kastelan, Kelley Ketner,
                                      Jennifer Kutsch, Viki Love, Kerstin N. Mazzone,
                                      Andrew P. Mooney, Carol Nielsen, Robert Oberschelp,
                                      Joe O’Neil, Natalie Rigolet, Chris Schreiber, Lance
                                      Stern, Steve Swokowski, Roberta Turchi, Alan Vickers,
                                      and Thomas Webster on behalf of themselves and those
                                      similarly situated




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